Case 5:23-cr-00052-JPB-JPM Document 19 Filed 08/21/23 Page 1 of 4 PageID #: 61




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,



v.                                                          Criminal No. 5:23-MJ-109
HARDY CARROLL LLOYD
                          Defendant.
                                     1
                      AMENDED MOTION FOR PRETRIAL DETENTION

       The United States moves for pretrial detention of defendant pursuant to 18 U.S.C. Section

3142(e) and (f).

       1.   Eligibility of Case. This case is eligible for a detention order because the case

involves (check all that apply):

             ✔          a crime of violence, a violation of section 1591, or an offense listed in
                        section 2332b(g)(5)(B) for which a maximum term of imprisonment of 10
                        years or more is prescribed;

                        an offense for which the maximum sentence is life imprisonment or death;

                        an offense for which a maximum term of imprisonment of ten years or
                        more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et
                        seq.), the Controlled Substances Import and Export Act (21 U.S.C. 951 et
                        seq.), or chapter 705 of title 46;

                        any felony if such person has been convicted of two or more offenses
                        described in subparagraphs (A) through (C) of Title 18 U.S.C. Section
                        3142(f)(1), or two or more State or local offenses that would have been
                        offenses described in subparagraphs (A) through (C) of this paragraph if a
                        circumstance giving rise to Federal jurisdiction had existed, or a
                        combination of such offenses; or

                        any felony that is not otherwise a crime of violence that involves a minor
                        victim or that involves the possession or use of a firearm or destructive
                        device (as those terms are defined in section 921), or any other dangerous
                        weapon, or involves a failure to register under section 2250 of title 18,
                        United States Code;



                    1Amended to add: serious risk defendant will flee and defendant's appearance required.
Case 5:23-cr-00052-JPB-JPM Document 19 Filed 08/21/23 Page 2 of 4 PageID #: 62




             ✓        Serious risk defendant will flee;

             ✔        Serious risk obstruction of justice

       2.   Reason for Detention. The court should detain defendant because there are no

conditions of release which will reasonably assure (check one or both):

             ✓          Defendant's appearance as required

             ✔          Safety of any other person and the community

       3.   Rebuttable Presumption.

       A rebuttable presumption arises that no condition or combination of conditions will

reasonably assure the safety of any other person and the community because:

                      a) the defendant has been convicted of a Federal offense that is described
                      in Title 18 U.S.C. Section 3142(f)(1), or of a State or local offense that
                      would have been an offense described in subsection (f)(1) of this section if
                      a circumstance giving rise to Federal jurisdiction had existed; b) the
                      offense was committed while the defendant was on release pending trial
                      for a Federal, State, or local offense; and c) a period of not more than five
                      years has elapsed since the date of conviction, or the release of the
                      defendant from imprisonment, for that offense whichever is later.

       A rebuttable presumption arises that that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of the community

because the defendant committed:

                      an offense for which a maximum term of imprisonment of ten years or
                      more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et
                      seq.), the Controlled Substances Import and Export Act (21 U.S.C. 951 et
                      seq.), or chapter 705 of title 46;

                      an offense under section 924(c), 956(a), or 2332b of this title;

                      an offense listed in section 2332b(g)(5)(B) of title 18, United States
                      Code, for which a maximum term of imprisonment of 10 years or more is
                      prescribed;

                      an offense under chapter 77 of this title for which a maximum term of
                      imprisonment of 20 years or more is prescribed; or
Case 5:23-cr-00052-JPB-JPM Document 19 Filed 08/21/23 Page 3 of 4 PageID #: 63




                      an offense involving a minor victim under section 1201, 1591, 2241, 2242,
                      2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3),
                      2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422,
                      2423, or 2425 of this title.

       4.   Time for Detention Hearing. The United States requests the court conduct the

detention hearing

                      At first appearance

             ✔        After continuance of   3    days (not more than 3)


       5.Other Matters:




 'DWHGAugust 21, 2023




                                                 /s/ Jarod J. Douglas
                                                  Jarod J. Douglas
                                                  $ssistant United States Attorney
Case 5:23-cr-00052-JPB-JPM Document 19 Filed 08/21/23 Page 4 of 4 PageID #: 64




                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of August, 2023, I have electronically filed the foregoing

pleading with the Clerk of the Court using the CM/ECF system, to be served upon counsel of record.




                                               By:     /s/ Jarod J. Douglas
                                                       Jarod J. Douglas
                                                       Assistant United States Attorney
                                                       WV Bar No. 11070
                                                       United States Attorney’s Office
                                                       1125 Chapline Street, Suite 3000
                                                       Wheeling, WV 26003
                                                       Phone: (304) 234-0100
